Case 4:21-cv-00579-P Document 106 Filed 04/07/22                    Page 1 of 3 PageID 1621



                               United States District Court
                                Northern District of Texas
                                  Fort Worth Division
 STATE OF TEXAS,
    Plaintiff,

 v.                                                                       Case 4:21-cv-579-P

 JOSEPH R. BIDEN, JR., et al.,
    Defendants.

          Joint Status Report and Joint Motion for Scheduling Order
       The CDC’s recent order terminating its previous Title 42 orders will take

 effect on May 23, 2022. See 87 F.R. 19941, 19955 (Apr. 6, 2022).

       Texas intends to (1) amend its complaint to challenge the termination order

 under the APA and (2) move to stay or postpone, or in the alternative

 preliminarily enjoin the implementation of, that order. The Defendants do not

 oppose the amendment but will oppose the motion. The parties propose the

 following schedule:

           •   April 15, 2022: Plaintiff’s deadline to amend complaint and move to
               stay or postpone, or in the alternative enjoin implementation of,
               termination order

           •   April 29, 2022: Defendants’ deadline to oppose motion and to file
               administrative record

           •   May 6, 2022: Plaintiff’s deadline to reply in support of motion

           •   May 9–12: Hearing on the motion, should the Court desire 1
       Texas respectfully requests that the Court grant it leave to amend its

 complaint, and the parties respectfully request that the Court render a

 scheduling order as proposed above.

 1
     Defendants’ counsel has a weekend trip with his son beginning on May 13.
    Case 4:21-cv-00579-P Document 106 Filed 04/07/22             Page 2 of 3 PageID 1622



Respectfully submitted,

KEN PAXTON                                          CHAD E. MEACHAM
Attorney General of Texas                           UNITED STATES ATTORNEY
BRENT WEBSTER
                                           /s/ Brian W. Stoltz
First Assistant Attorney General
                                           Brian W. Stoltz
AARON F. REITZ                             Assistant United States Attorney
Lead Counsel                               Texas Bar No. 24060668
Deputy Attorney General for Legal Strategy 1100 Commerce Street, Third Floor
Texas Bar No. 24105704                     Dallas, Texas 75242-1699
aaron.reitz@oag.texas.gov                  Telephone: 214-659-8626
/s/ Leif A. Olson                          Facsimile: 214-659-8807
LEIF A. OLSON                              brian.stoltz@usdoj.gov
Special Counsel
Texas Bar No. 24032801                              Attorneys for Defendants
leif.olson@oag.texas.gov
OFFICE OF THE ATTORNEY GENERAL
P.O. Box 12548
Austin, Texas 78711-2548
(512) 936-1700

GENE P. HAMILTON
MATTHEW G. WHITAKER*
America First Legal Foundation
300 Independence Avenue SE
Washington, D.C. 20003
(202) 964-3721
gene.hamilton@aflegal.org
matt.whitaker@aflegal.org

CHRISTOPHER J. HAJEC*
MATT A. CRAPO*
Immigration Reform Law Institute
25 Massachusetts Ave. NW, Suite 335
Washington, D.C. 20001
(540) 205-7986
litigation@irli.org

Counsel for the State of Texas

*   admitted pro hac vice



     Case 4:21-cv-579-P, Texas v. Biden                                        Page 2 of 3
     Joint Status Report and Joint Motion for Scheduling Order
Case 4:21-cv-00579-P Document 106 Filed 04/07/22             Page 3 of 3 PageID 1623



                              Certificate of Service
    On April 7, 2022, I filed this Joint Status Report and Joint Motion for

 Scheduling Order with the Court through its CM/ECF system, which

 automatically serves it upon all counsel of record.

                                           /s/ Leif A. Olson




 Case 4:21-cv-579-P, Texas v. Biden                                       Page 3 of 3
 Joint Status Report and Joint Motion for Scheduling Order
